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  1 RICHARD A. MARSHACK
    rmarshack@marshackhays.com
  2 MARSHACK HAYS LLP
    870 Roosevelt
  3 Irvine, CA 92620
    Telephone: (949) 333-7777
  4 Facsimile: (949) 333-7778

  5 Chapter 7 Trustee

  6

  7

  8                                UNITED STATES BANKRUPTCY COURT

  9                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 10

 11 In re:                                                  Case No. 8:19-bk-11550-TA

 12 ALAIN AZOULAY,                                          Chapter 7

 13                     Debtor.                             NOTICE OF APPLICATION BY CHAPTER
                                                            7 TRUSTEE TO RETAIN BKGLOBAL
 14                                                         REAL ESTATE SERVICES AND
                                                            COLDWELL BANKER
 15
                                                            [NO HEARING REQUIRED]
 16

 17 TO THE HONORABLE THEODOR C. ALBERT, UNITED STATES BANKRUPTCY

 18 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER

 19 INTERESTED PARTIES:

 20              PLEASE TAKE NOTICE that Richard A. Marshack, Chapter 7 Trustee (“Trustee” or

 21 “Applicant”) for the Bankruptcy Estate (“Estate”) of Alain Azoulay (“Debtor”), has filed an

 22 application (“Application”) for entry of an order authorizing the retention of (1) BK Global Real

 23 Estate Services (“BKG”) and (2) Clarence Yoshikane of Coldwell Banker (“Agent”).

 24              Trustee requests approval to retain BKG and Agent (individually and collectively

 25 referred to as “Broker” or “Brokers”), at no cost to the estate, to negotiate with and persuade the

 26 first lienholder, Bank of America (“BofA”) on the Property (defined below) in which the estate

 27 has no equity to (1) allow Trustee to sell the Property at the highest price that the market will

 28 bear, (2) waive the resulting deficiency claim and (3) pay an 11 U.S.C. § 506 surcharge of 5%


                                                        1
                        APPLICATION TO EMPLOY BKGLOBAL AND REAL ESTATE AGENT
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  1 provided the sale price is at least $1,305,000 to provide carveout for the benefit of the estate and

  2 pay all other sale expenses.

  3              On April 25, 2019, Debtor filed a voluntary petition under Chapter 7 of Title 11 the

  4 United States Code. On the same day, Richard A. Marshack was appointed as the Chapter 7

  5 trustee of the Estate.

  6              In his Schedule A/B, Debtor lists an ownership interest in real property located at 327

  7 Salta Verde Point, Long Beach, CA 90803 with a scheduled value of $1,050,000 (the

  8 “Property”). Schedule D reflects that the Property is encumbered by one deed trust in favor of

  9 BofA in the amount exceeding $1,780,000 (“BofA Deed”) and a lien in favor of Spinnaker

 10 Homeowners Association (the “HOA”) in the amount of $8,000 (the “HOA Lien”). Trustee

 11 believes the Property may also be encumbered by 3 junior judgment liens.

 12              Agent has inspected the Property and informed the Trustee that the Property has a value

 13 of between $1,299,900 to $1,329,900.

 14              On or about June 11, 2019, Trustee was contacted by BKG to discuss BofA’s request for

 15 the Trustee to sell the Property.

 16              In order to market the Property most effectively, and thereby to liquidate the same for

 17 the best and highest price, Trustee has solicited the assistance of Agent, a licensed real estate

 18 agent. Agent, on behalf of Trustee, has examined the information related to the Property and has

 19 agreed to advertise the Property at the Agent’s expense, to show the Property to interested

 20 parties, to represent the Estate as seller in connection with the sale of the Property, and to advise

 21 Trustee with respect to obtaining the highest and best offers available in the present market.

 22 Based on the foregoing agreement, Trustee desires to enter into listing agreement and addendum

 23 (“Listing Agreement”), in substantially the form as attached hereto as Exhibit “1,” to employ

 24 Agent as the Estate’s real estate agent to procure and submit to Trustee offers to purchase the

 25 Property.

 26              In consideration for such services, subject to further application and Court order, the

 27 Agent, BKG and buyer’s agent will receive, upon consummation of a sale, a real estate

 28 commission in an amount equal to a minimum of 5% of the purchase price which will be paid


                                                          2
                         APPLICATION TO EMPLOY BKGLOBAL AND REAL ESTATE AGENT
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  1 from the proceeds from the sale of the Property. To be clear, each one of the three parties will

  2 seek 1/3 of the 5% commission.

  3              Agent and BKG have been informed and understand that no sale of the Property may be

  4 consummated until after (1) a notice to creditors with the opportunity for a hearing and (2) a

  5 Court Order approving the sale of the Property. The proposed agreements are attached and

  6 provide that BKG and Agent will not be entitled to any compensation from the Estate

  7 whatsoever under any circumstances. They will only receive and share a customary brokerage

  8 commission that is paid by BofA as an 11 U.S.C. § 506 surcharge approved by this Court.

  9              Agent and BKG are aware of the provisions of Bankruptcy Code Section 328(a) and have

 10 agreed, notwithstanding the terms and conditions of employment herein set forth, that the Court

 11 may allow compensation different from the compensation provided herein if such terms and

 12 conditions prove to have been improvident in light of developments unanticipated at the time of

 13 the fixing of such terms and conditions.

 14              The complete scope and terms of the employment are detailed in the Application a copy

 15 of which can be obtained by contacting Richard A. Marshack at the address indicated above.

 16              PLEASE TAKE FURTHER NOTICE that any response and request for hearing as to

 17 the proposed employment must be in the form as required by Local Bankruptcy Rules 2014-1(b),

 18 9013-1(f) and (o) and filed with the Clerk of the above-entitled Court. The deadline for any

 19 response and request for hearing is 14 days after the date of service of this Notice, plus an

 20 additional 3 days unless this Notice was served by personal delivery or posting as described in

 21 F.R.Civ.P. 5(b)(2)(A)-(B). A copy of any response or request for hearing must be served on

 22 Richard A. Marshack at the address indicated above. A copy must also be served on the Office

 23 of the United States Trustee, 411 W. Fourth Street, Suite 7160, Santa Ana, California 92701.

 24 Failure to timely respond may be deemed as acceptance of the proposed relief. See Local

 25 Bankruptcy Rules 9013-1(h).

 26 Dated: October 11, 2019                 Respectfully submitted,
 27                                         _/s/ Richard A. Marshack_______________________
                                            Richard A. Marshack, Chapter 7 Trustee for the
 28                                         Bankruptcy Estate of Alain Azoulay

                                                        3
                        APPLICATION TO EMPLOY BKGLOBAL AND REAL ESTATE AGENT
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): NOTICE OF TRUSTEE’S APPLICATION TO
EMPLOY REAL ESTATE AGENT will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
11, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Frank Cadigan frank.cadigan@usdoj.gov
       Dana M Douglas dmddouglas@hotmail.com
       Edward W Hess ed_hess@pacbell.net, fsoriano@pacbell.net
       Nancy L Lee bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
       Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On October 11, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 11, 2019           Pamela Kraus                                                        /s/ Pamela Kraus
 Date                         Printed Name                                                      Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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2. SERVED BY UNITED STATES MAIL: continued:

DEBTOR                                            DEBTOR                                                  CREDITOR
ALAIN AZOULAY                                     ALAIN AZOULAY                                           A BANFIELD PET HOSPITAL
34042 CRYSTAL LANTERN                             110 ECHO RUN                                            PO BOX 64378
DANA POINT, CA 92629-2617                         IRVINE, CA 92614-7425                                   SILVER BAY, MN 55614

CREDITOR                                          CREDITOR                                                CREDITOR / POC ADDRESS
ACCOUNT MANAGEMENT                                AMERICAN EXPRESS                                        AMERICAN EXPRESS NATIONAL
SERVICES                                          PO BOX 7871                                             BANK
6101 BALL RD., STE. 207                           FORT LAUDERDALE, FL 33329-0000                          C/O BECKET AND LEE LLP
CYPRESS, CA 90630-3965                                                                                    PO BOX 3001
                                                                                                          MALVERN PA 19355-0701

CREDITOR                                          CREDITOR                                                CREDITOR
BANK OF AMERICA                                   BANK OF AMERICA, N.A.                                   BEVERLY RADIOLOGY MED.
100 N. TRYON ST.                                  C/O MCCARTHY & HOLTHUS, LLP                             GROUP
CHARLOTTE, NC 28202-4024                          411 IVY STREET                                          PO BOX 101418
                                                  SAN DIEGO, CA 92101-2108                                PASADENA, CA 91189-1418

CREDITOR                                          CREDITOR                                                CREDITOR
CA FRANCHISE TAX BOARD                            CARSON, MCBEATH, BOSWELL                                CMRE 877-572-7555
ATTN: BANKRUPTCY DEPT.                            SO. COAST RETINA CENTER                                 3075 E IMPERIAL HWY.
MS: A-340 - PO BOX 2952                           4300 LONG BEACH BLVD. #300                              BREA, CA 92821-6733
SACRAMENTO, CA 95812-2952                         LONG BEACH, CA 90807-2008

CREDITOR                                          CREDITOR / POC ADDRESS                                  CREDITOR
DANA M DOUGLAS                                    ENDOCRINOLOGY & DIABETES                                FCBS INC.
ATTORNEY AT LAW                                   SPCLTY GRP                                              FOR CF MEDICAL LLC/LOWER
4712 ADMIRALTY WAY #1001                          3300 E. SOUTH ST. #103                                  KEYS MED.
MARINA DEL REY, CA 90292-6905                     LONG BEACH, CA 90805-4582                               330 S. WARMINSTER RD., STE. 353
                                                                                                          HATBORO, PA 19040-3433

CREDITOR / POC ADDRESS                            CREDITOR / POC ADDRESS                                  CREDITOR / POC ADDRESS
FIDELITY CREDITOR SVCS.                           FRANCHISE TAX BOARD                                     INTERNAL REVENUE SERVICE
441 N. VARNEY ST.                                 BANKRUPTCY SECTION MS A340                              PO BOX 7346
BURBANK, CA 91502-1733                            PO BOX 2952                                             PHILADELPHIA, PA 19101-7346
                                                  SACRAMENTO CA 95812-2952

CREDITOR / POC ADDRESS                            CREDITOR                                                CREDITOR
LOS ANGELES COUNTY                                M. LEONARD & ASSOCS.                                    MANDARICH LAW GROUP, LLP
TREASURER AND TAX                                 14520 ERWIN ST.                                         FOR CACHE, LLC/WELLS FARGO
COLLECTOR                                         VAN NUYS, CA 91411-2340                                 BANK
ATTN BANKRUPTCY UNIT                                                                                      9200 OAKDALE AVE., STE. 601
PO BOX 54110                                                                                              CHATSWORTH, CA 91311-6513
LOS ANGELES CA 90054-0110

CREDITOR                                          CREDITOR                                                CREDITOR
MCM MIDLAND CREDIT MGMT.,                         MEDICREDIT, INC.                                        ORANGE COUNTY TREAS-TAX
INC.                                              PO BOX 1629                                             COLLECTOR
FOR FIA CARD SERVICES, N.A.                       MARYLAND HEIGHTS, MO 63043-0629                         PO BOX 1438
2365 NORTHSIDE DR., STE. 300                                                                              SANTA ANA, CA 92702-1438
SAN DIEGO, CA 92108-2709




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CREDITOR                                          CREDITOR                                                CREDITOR
PROGRESSIVE MANAGEMENT                            QUEST DIAGNOSTICS                                       RETINA ASSOCIATES MED. GROUP
SYSTEM                                            PO BOX 7306                                             436 S. GLASSELL ST.
1521 W. CAMERON AVE., 1ST FLR                     HOLLISTER, MO 65673-7306                                ORANGE, CA 92866-1906
WEST COVINA, CA 91790-2738

CREDITOR                                          CREDITOR                                                CREDITOR / POC ADDRESS
SMETKO, CARL                                      SPINNAKER BAY OF LONG BEACH                             SPINNAKER BAY OF LONG BEACH
720 N TUSTIN AVE #102                             HOME OWNERS CORP                                        HOME OWNERS CORP
SANTA ANA, CA 92705-3606                          C/O LAW OFFICES OF EDWARD W.                            550 PARKCENTER DR., SUITE 105
                                                  HESS, JR                                                SANTA ANA, CA 92705-3529
                                                  550 PARKCENTER DRIVE, SUITE 105
                                                  SANTA ANA, CA 92705-3529

CREDITOR                                          CREDITOR                                                CREDITOR
SPINNAKER HOMEOWNERS                              UNITED STATES TRUSTEE (SA)                              WF CREDIT SERVICES
ASSOCIATION                                       411 W FOURTH ST., SUITE 7160                            PO BOX 14517
C/O LAW OFFICE OF EDWARD                          SANTA ANA, CA 92701-4500                                DES MOINES, IA 50306-3517
HESS
601 N. PARKCENTER DR., STE.
107-8
SANTA ANA, CA 92705-3522

CREDITOR
WF PLL
PO BOX 94435
ALBUQUERQUE, NM 87199-4435




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
